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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 DISTRICT OF COLUMBIA, et al.,

                          Plaintiffs,               Civil Action No. 20-119 (BAH)

                          v.                        Chief Judge Beryl A. Howell

 U.S. DEPARTMENT OF AGRICULTURE,
 et al.,

                          Defendants.


 BREAD FOR THE CITY, et al.,

                          Plaintiffs,

                          v.

 U.S. DEPARTMENT OF AGRICULTURE,
 et al.,

                          Defendants.

                                            ORDER

       Upon consideration of the two pending motions for preliminary injunction or a stay

pending judicial review, State Pls.’ Mot. for Prelim. Inj. or 5 U.S.C. § 705 Stay Pending Judicial

Review, ECF No. 3; Pls.’ Mot. for Prelim. Inj., Bread For the City, et al. v. U.S. Dep’t of Agric.,

et al., 20-cv-127, ECF No. 4; the memoranda in support and opposition to those motions, and the

exhibits thereto; the arguments presented at the hearing held on March 5, 2020; the Final Rule, see

Supplemental Nutrition Assistance Program: Requirements for Able-Bodied Adults Without

Dependents, 84 Fed. Reg. 66782 (Dec. 5, 2019); and the full record herein, it is hereby

       ORDERED that the state plaintiffs’ motion is GRANTED IN PART AND DENIED IN

PART; and it is further

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        ORDERED that the state plaintiffs’ and private plaintiffs’ motions for a preliminary

injunction and a stay pending judicial review are GRANTED as to the challenged waiver portions

of the Final Rule; and it is further

        ORDERED that the defendants shall be PRELIMINARILY ENJOINED from

implementing the challenged waiver portions of the Final Rule, see 84 Fed. Reg. at 66811 (printing

parts of the regulation to be codified, including the challenged waiver portions: § 237.24 (f)(2) and

(f)(4)); and it is further

        ORDERED that the effective date of the challenged waiver portions of the Final Rule shall

be stayed under 5 U.S.C. § 705 pending judicial review; and it is further

        ORDERED that the state plaintiffs’ motion for a preliminary injunction and a stay pending

judicial review is DENIED as to the challenged discretionary exemption portion of the Final Rule,

see 84 Fed. Reg. at 66811–12 (printing parts of the regulation to be codified, including the

challenged discretionary exemption portions: § 237.24 (h)(2)).



        Date: March 13, 2020




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                                                      BERYL A. HOWELL
                                                      Chief Judge




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